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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

  ZACHARY CHARLES BAUGHMAN,
  individually, GEORGE SCHMIDT,
  individually, and on behalf of all others                       Case No. 1:23-CV-21862-DPG
  similarly situated,


                      Plaintiffs,

           v.

  BOTTOM LINE CONCEPTS, LLC, a
  Florida company,

                      Defendant.


   DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
           Defendant Bottom Line Concepts, LLC (“BLC” or “Defendant”) moves to dismiss
  Plaintiffs Zachary Charles Baughman (“Baughman”) and George Schmidt’s (“Schmidt,” together
  with Baughman, “Plaintiffs”) Class Action Complaint pursuant to Federal Rules of Civil Procedure
  12(b)(1) based on a facial attack to the Complaint and 12(b)(6) for failure to state a claim upon
  which relief can be granted.
      I.        INTRODUCTION
           This case is yet another telemarketing lawsuit that seeks to darken this Court’s doorstep
  without alleging a concrete injury in fact to establish Article III standing. Recent cases in this Circuit
  and District have made clear that merely alleging a violation of the Telephone Consumer Protection
  Act, 47 U.S.C. § 227, et seq. (the “TCPA”) is not enough to establish Article III standing, and that
  is exactly what has happened here. Because Plaintiffs have not (and likely cannot) allege a sufficient
  injury caused by BLC that would give rise to Article III standing, the Complaint must be dismissed.
  And, because the Complaint fails to allege any prospect of future harm, the portions of the claim
  seeking injunctive relief must also be dismissed.
           To the extent the Court looks beyond the threshold issue of Article III standing (it should
  not), the Complaint is also deficient for failing to adequately plead either direct or vicarious liability.
  The Complaint seeks to hold BLC liable for alleged calls made by someone else. The Complaint is



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  riddled with references to non-party ERC Concepts, and while failing to include them in this action,
  casually seeks to hold BLC liable for calls made by someone else. But Plaintiffs cannot partially
  plead direct liability and partially plead vicarious liability to make a whole Complaint; rather, they
  must adequately plead direct and/or vicarious liability independently. Because they do neither, all
  claims must be dismissed.
            For either of these reasons, the entire Complaint should be dismissed.
     II.       SUMMARY OF FACTUAL ALLEGATIONS
            The Complaint is long on conclusions but short on facts. Stripped of the self-serving
  allegations about why telemarketing is generally bad (see pp. 2-3), and general comments from the
  internet about a telephone number that is not otherwise connected to BLC (see pp. 4-6), the only
  relevant facts the Complaint alleges are the following:

     -      Plaintiff Baughman received a single call from 786-936-1984, which rang only once and
            went to voicemail. See Compl. at ¶ 28.

     -      The voicemail did not identify or reference BLC. See id.

     -      When someone (not necessarily Plaintiff Baughman) called 786-936-1984, the company
            identifying itself was allegedly a non-party to this action—ERC Concepts. See id. at ¶ 30.

     -      As a result of that single call (which rang once and went to voicemail), Plaintiff Baughman
            was purportedly harmed “in the form of annoyance, nuisance, and invasion of privacy, and
            disturbed the use and enjoyment of his phone, in addition to the wear and tear on the
            phone’s hardware (including the phone’s battery) and the consumption of his phone line
            and memory on the phone.” See id. at ¶ 31.

     -      Plaintiff Schmidt received a call from 650-780-3601 and a voicemail was left that did not
            identify or reference BLC. See id. at ¶ 35.

     -      Plaintiff Schmidt received four additional calls, which were answered, from someone
            purporting to be from non-party ERC Concepts. See id. at ¶¶ 36-39.

     -      As a result of the calls at issue, Plaintiff Schmidt was purportedly harmed “in the form of
            annoyance, nuisance, and invasion of privacy, and disturbed the use and enjoyment of his
            phone, in addition to the wear and tear on the phone’s hardware (including the phone’s
            battery) and the consumption of his phone line and memory on the phone.” See id. at ¶ 41.

     III.      LEGAL STANDARD
               a. 12(b)(1) Standard
            To demonstrate Article III standing, “a plaintiff must show (i) that he suffered an injury in


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  fact that is concrete, particularized, and actual or imminent; (ii) that the injury was likely caused
  by the defendant; and (iii) that the injury would likely be redressed by judicial relief.” TransUnion
  LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). As bluntly stated by the United States Supreme
  Court, “[n]o concrete harm, no standing.” Id. at 2200. Even though a legislative body might have
  created a private right of action of a particular statutory violation, “a plaintiff does not
  automatically satisfy the injury-in-fact requirement whenever a statute grants a person a statutory
  right and purports to authorize that person to sue to vindicate that right.” Trichell v. Midland
  Credit Mgmt., Inc., 964 F.3d 990, 997 (11th Cir. 2020) (quoting Spokeo, Inc. v. Robins, 136 S. Ct.
  1540, 1549 (2016)). A “bare procedural violation, divorced from any concrete harm,” does not
  satisfy the injury-in-fact requirement of Article III. Id.
          Whether a party has Article III standing is a threshold jurisdictional issue that courts must
  address before reaching the merits of a case. See, e.g., Kawa Orthodontics, LLP v. Sec’y, U.S.
  Dep’t Treas., 773 F.3d 243, 245 (11th Cir. 2014) (discussing threshold nature of standing).
  “Standing to sue is a doctrine rooted in the traditional understanding of a case or controversy. . . .
  The doctrine limits the category of litigants empowered to maintain a lawsuit in federal court to
  seek redress for a legal wrong.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), as revised (May
  24, 2016).
          A motion to dismiss for lack of Article III standing is properly brought as a motion to
  dismiss for lack of subject matter jurisdiction pursuant to Rule 12(b)(1). See Malgeri v. Vitamins
  Because LLC, 19-22702-CIV, 2022 WL 16635274, at *6 (S.D. Fla. Sept. 30, 2022) (noting Article
  III standing challenges are governed by Rule 12(b)(1)). Under Rule 12(b)(1), a defendant may
  attack subject matter jurisdiction in one of two ways, “facially or factually.” Id. A facial challenge
  looks merely at the four corners of the Complaint, whereas a factual challenge (which can be raised
  at any time) considers matters outside the pleadings. See id. (discussing difference between facial
  and factual challenge) (internal citations omitted).
               b. 12(b)(6) Standard
          Rule 12(b)(6) provides for dismissal where a plaintiff fails to sufficiently plead a claim for
  relief. A “bare assertion” and “conclusory allegation[s]” will not suffice. Bell Atl. Corp. v. Twombly,
  550 U.S. 544, 556-57 (2007). A “formulaic recitation of the elements” of a claim also fails to meet
  the requisite pleading standard. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Instead, Plaintiff must
  “include factual allegations for each essential element of his or her claim.” GeorgiaCarry.Org, Inc.



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  v. Georgia, 687 F.3d 1244, 1254 (11th Cir. 2012) (abrogated on other grounds by New York State
  Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111 (2022)). “Conclusory allegations, unwarranted
  factual deductions or legal conclusions masquerading as facts will not prevent dismissal” under Rule
  12(b)(6). Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003); see also Chaparro
  v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012) (“Factual allegations that are merely
  consistent with a defendant’s liability fall short of being facially plausible.”). Where (as here) a
  statute upon which a claim is based is unconstitutional, dismissal under Rule 12(b)(6) is also
  appropriate. See Harris v. Mex. Specialty Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009).
     IV.      ARGUMENT
              a. The Complaint must be dismissed because Plaintiff lacks Article III standing
                 with regard to damages.

           Recent cases in this District and Circuit confirm that the allegations at issue in the
  Complaint are insufficient to establish Article III standing.
           The seminal case regarding standing in telemarketing cases is Salcedo v. Hanna, 936 F.3d
  1162 (11th Cir. 2019). Salcedo held that a single text message does not “state a concrete harm that
  meets the injury-in-fact requirement of Article III.” Id. at 1172. Often overlooked, however, is
  Salcedo’s other critical holding:
                                       F. Quality, Not Quantity

                    To be clear, we are not attempting to measure how small or large Salcedo’s
           alleged injury is. Article III standing is not a “You must be this tall to ride”
           measuring stick. “There is no minimum quantitative limit required to show injury;
           rather, the focus is on the qualitative nature of the injury, regardless of how small
           the injury may be.” Saladin v. City of Milledgeville, 812 F.2d 687, 691 (11th Cir.
           1987). Our assessment today is thus qualitative, not quantitative. We have assessed
           how concrete and real the alleged harm is, Spokeo, 136 S. Ct. at 1548, and we have
           concluded that it is not the kind of harm that constitutes an injury in fact. Some
           harms that are intangible and ephemeral may do so, but Salcedo’s allegations of the
           harm he suffered from receiving a single text message do not.

  Id. at 1172–73.
           Following Salcedo, courts in this District began dismissing telemarketing cases left and
  right based on lack of Article III standing, even when Plaintiff received as much as five purportedly
  unsolicited communications. See, e.g., Eldridge v. Pet Supermarket Inc., 446 F. Supp. 3d 1063,
  1070 (S.D. Fla. 2020) (“In light of Salcedo, the Court must find that Plaintiff’s alleged injuries—



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  invasion of privacy, intrusion upon seclusion, and wasted time from receiving five unauthorized
  text messages over a three-month period—do not state a concrete injury-in-fact.”); see also
  Mittenthal v. Fla. Panthers Hockey Club, Ltd., 472 F.Supp.3d 1211, 1216, 1225 (S.D. Fla. July
  14, 2020) (Altman, J.) (remanding for lack of standing with “around 10” text messages); Grigorian
  v. FCA US, LLC, 18-24364-CIV, 2019 WL 8584615, at *1 (S.D. Fla. Dec. 13, 2019), aff'd, 838 F.
  App’x 390 (11th Cir. 2020) (“The Court finds that Plaintiff lacks standing under Article III. See
  Salcedo v. Hanna, 936 F.3d 1162 (11th Cir. 2019)”).
          A year after Salcedo, the Eleventh Circuit held that Courts dismissing cases involving
  telephone calls and text messages for lack of Article III standing based on Salcedo were getting it
  right. In Grigorian v. FCA US LLC, 838 F. App’x 390 (11th Cir. 2020), the Eleventh Circuit made
  express what was implied in Salcedo: you need more than simply receiving calls or texts to
  establish Article III standing. Specifically, the Eleventh Circuit held:
          Here, Grigorian has provided facts that she lost personal time listening to the
          voicemail. She has not, however, provided facts to show that the single prerecorded
          voicemail rendered her phone unavailable to receive legitimate calls or messages
          for any period of time. Without more, we cannot say that she met her burden to
          show she had standing, particularly in light of this Court’s holdings in Palm Beach
          Golf Center and Salcedo.

  Id. at 394.
          Over the past two years, Courts have continued to dismiss TCPA cases relying on Salcedo
  and Grigorian. See, e.g., Frater v. Lend Smart Mortgage, LLC, 22-22168-CIV, 2022 WL 4483753,
  at *4 (S.D. Fla. Sept. 27, 2022) (“The fact that the Plaintiff cannot identify a single specific harm
  she allegedly suffered, beyond offering a conclusory recitation of harms like ‘annoyance,’
  ‘aggravation,’ and ‘wasted time,’ means that she has still failed to clear the qualitative floor for a
  concrete injury and, therefore, she (and the putative class) lacks standing to bring a claim under [a
  telemarketing statute].”); Colceriu v. Barbary, 543 F. Supp. 3d 1277, 1281 (M.D. Fla. 2021) (“Yet,
  the Complaint does not allege that Plaintiff's time was wasted or the degree to which it was wasted
  by Defendant's actions or that Plaintiff suffered an injury related to an “invasion” of her social
  media feed by the profiles she followed. Moreover, it is not clear that a mere waste of time,
  voluntarily expended, could suffice to establish injury-in-fact.”); Garcia v. FCA US LLC, 1:20-
  CV-22191-JEM, 2021 WL 7709961, at *3 (S.D. Fla. May 28, 2021) (“Because Plaintiff failed to
  allege facts demonstrating that the prerecorded message rendered her phone unavailable to receive



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  legitimate calls or messages, the Amended Complaint suffers from the same defect as the pleading
  in Grigorian. Accordingly, dismissal is warranted.”)
          In Muccio v. Glob. Motivation, Inc., 22-81004-CIV, 2022 WL 17969922 (S.D. Fla. Dec.
  27, 2022), the Court dismissed TCPA claims under Salcedo and its progeny, holding:
          Plaintiff attempts to distinguish his “injury” by observing that he received five
          unwanted text messages as opposed to the one unsolicited text message received by
          the plaintiff in Salcedo. That factual distinction does not change the legal
          conclusion under Article III on the facts alleged. As the Eleventh Circuit in Salcedo
          made clear: “ ‘There is no minimum quantitative limit required to show injury;
          rather, the focus is on the qualitative nature of the injury, regardless of how small
          the injury may be.’”. In other words, the question is how “concrete and real the
          alleged harm is,” i.e., not on the mere number of unwanted communications. Id.
          Plaintiff also suggests that he has Article III standing because Defendants failed to
          maintain certain policies associated with unsolicited calls and also failed to train
          personnel in the use of a do-not-call list. Those policy-oriented allegations do not
          tip the standing scale in favor of Plaintiff's standing; Plaintiff still must allege a
          concrete harm suffered as a result of receiving unsolicited messages from
          Defendants, and he has not—either in the receipt of the messages or in Defendants’
          alleged failure to maintain written policies.

  Id. at *3 (internal citations omitted).
          Here, Plaintiffs’ “harms” are indistinguishable from the “harm” alleged in Salcedo. The
  alleged receipt of one to five telephone calls (none of which are directly connected to BLC) is an
  “isolated, momentary, and ephemeral” event. Salcedo, 936 F.3d at 1171. The plaintiff in Salcedo
  and Plaintiffs here both alleged that the text messages invaded their privacy and annoyed them.
  See Compl., ¶¶ 31, 41; Salcedo, 936 F.3d at 1167 and 1172. Neither plaintiff alleged (or could
  have alleged) that the telephone calls cost them any money or actual damages. Id. at 1168. Neither
  plaintiff alleged any “objectively intense interference” with his private space, infringement of real
  property rights, or the defendant’s exercise of complete dominion over his cell phone, even for a
  limited time. Id., at 1171-72; see also Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 921
  (11th Cir. 2020) (holding that “a party does not have standing to sue when it pleads only the bare
  violation of a statute”); TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2197, 210 L. Ed. 2d 568
  (2021) (holding that a plaintiff does not “automatically satisf[y] the injury-in-fact requirement
  whenever a statute grants a person a statutory right and purports to authorize that person to sue to
  vindicate that right”); Drazen v. Pinto, 41 F.4th 1354 (11th Cir. 2022) (refusing to certify TCPA
  class action because the proposed class would include consumers who received one text message,



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  which is improper because such consumers lack standing). 1
           Ultimately, the alleged harms deemed insufficient to confer standing in Muccio, Frater,
  and Salcedo are the exact harms Plaintiff has alleged that he suffered as a result of the subject
  messages here. These allegations are insufficient to confer standing. Plaintiff’s Complaint (all
  Counts) should therefore be dismissed.
               b. The Complaint must be dismissed because Plaintiff lacks Article III standing
                  with regard to injunctive relief.

           Plaintiffs separately lack Article III standing to seek injunctive relief in any event, which
  requires that they establish “continuing, present adverse effects” traceable to Defendant’s conduct.
  O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974); see also Schaevitz v. Braman Hyundai, Inc., 437
  F. Supp. 3d 1237, 1251–52 (S.D. Fla. 2019) (dismissing request for injunctive relief in TCPA case
  for lack of standing where there was nothing suggesting possible future injuries). Here, Plaintiff
  Baughman alleged he received a single call and Plaintiff Schmidt alleged he received five calls
  over an eight-day period, but neither Plaintiff alleges any continuing or possible future injury. And
  of course, because Plaintiff “lacks [Article III] standing to bring the asserted claims on his own
  behalf” against Defendant, he also “lacks standing to represent a class asserting such claims.”
  Atkinson v. Wal-Mart Stores, Inc., 2009 WL 1458020, at *4 (M.D. Fla. May 26, 2009).
           The case of Zononi v. CHW Group, Inc., 22-CV-14358, 2023 WL 2667941, at *5 (SD Fla
  Mar. 7, 2023), is instructive. In Zononi, in response to similar allegations of injunctive relief in the
  operative pleading, the Court held:
           Here, Defendant argues the FAC fails to allege facts that show a likelihood of future
           injury, and the request for injunctive relief should therefore be dismissed (DE 13 at
           17-18). The Court agrees. After reviewing the FAC, the Court finds no allegations
           to suggest a threat of future injury, other than the mere fact of past injuries. Without
           more, past injuries alone do not suffice. See City of Los Angeles v. Lyons, 461 U.S.
           95, 102 (1983) (“[P]ast exposure to illegal conduct does not in itself show a present
           case or controversy regarding injunctive relief.”). The Court notes that Plaintiff
           submitted no argument to oppose Defendant's request for dismissal of the injunctive
           relief request (DE 15). As such, the Court recommends the Motion be granted as to
           all requests for injunctive relief. See, e.g., Schaevitz v. Braman Hyundai, Inc., 437
           F. Supp. 3d 1237, 1249 (S.D. Fla. 2019) (dismissing prayer for declaratory and
           injunctive release based upon failure to allege facts showing threat of imminent
           future harm).



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      The Eleventh Circuit has agreed to rehear Drazen en banc. 61 F.4th 1297 (11th Cir. 2023).


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          The Court should reach the same conclusion here and dismiss the Complaint as to all
  requests for injunctive relief.
               c. Plaintiffs’ Complaint implies both direct and vicarious liability, but fails to
                  allege sufficient facts to support a claim under either theory.

          Plaintiffs’ claims independently fail because they do not plead sufficient facts supporting a
  plausible theory of liability under the TCPA. Courts have recognized two potential theories of
  liability under the TCPA: (i) direct liability; and (ii) vicarious liability. See Rogers v. Postmates Inc.,
  2020 WL 3869191, at *3 (N.D. Cal. July 9, 2020) (citing Thomas v. Taco Bell Corp., 582 F. App’x
  678, 679 (9th Cir. 2014)). Thus, to properly plead a telemarketing claim, “the person must either (1)
  directly make the call, or (2) have an agency relationship with the person who made the call.”
  Pascal v. Agentra, LLC, 2019 WL 5212961, at *2 (N.D. Cal. Oct. 16, 2019) (emphasis added)
  (quoting Abante Rooter & Plumbing v. Farmers Grp., Inc., 2018 WL 288055, at *4 (N.D. Cal. Jan.
  4, 2018)). As to the former, it is well accepted that direct liability under the TCPA applies only to
  persons or entities that “initiate” telemarketing calls and that to “initiate” in this context means to
  “physically place” a phone call. Sheski v. Shopify (USA) Inc., 2020 WL 2474421, at *2 (N.D. Cal.
  May 13, 2020) (citing In re Dish Network, LLC, 2013 WL 1934349, 28 FCC Rcd. 6574, 6583 ¶ 26
  (2013)); accord Grant v. Regal Auto. Grp., Inc., 2020 WL 8254283, at *7 (M.D. Fla. July 30, 2020),
  report and rec. adopted, 2020 WL 8224838 (Sept. 29, 2020). This rule applies equally to claims
  brought under the TCPA’s DNC Registry provision, as invoked here. See, e.g., Donaca, 303 F.R.D.
  at 394-96.
                       i. Plaintiffs do not adequately allege direct liability.

          Thus, courts routinely dismiss direct TCPA liability claims at the pleadings stage that, like
  Plaintiffs’, lack sufficient factual allegations demonstrating the defendant actually “initiated” the
  calls at issue in the sense of “tak[ing] the steps necessary to physically place” a call. Sheski, 2020
  WL 2474421, at *2-4 (dismissing where the plaintiff did not allege facts supporting direct liability)
  (emphasis added) (quoting In re Dish Network, LLC, 2013 WL 1934349, 28 FCC Rcd. at 6583 ¶
  26). “Merely alleging that [a defendant] ‘made’ or ‘initiated’ [a] call”—like Plaintiff does—“is not
  sufficient to allege a [direct] TCPA [liability] claim” or to avoid dismissal under Rule 12(b)(6).
  Frank v. Cannabis & Glass, LLC, 2019 WL 4855378, at *2 (E.D. Wash. Oct. 1, 2019).
          Here, neither Plaintiff alleges who physically placed the at-issue calls. Rather, Plaintiffs
  merely conclude that they received calls “from” Defendant. See Compl. ¶¶ 28, 35-39. In contrast to


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  this allegation, Plaintiffs imply throughout their Complaint that someone other than BLC placed the
  calls to them, consistently referencing non-party ECR Concepts. See id. ¶¶ 30, 36, 37, 38, 39. They
  do not allege, for example, that: (i) the phone numbers at issue belong to Defendant; (ii) anyone
  identified themselves as an employee or agent of Defendant other than after calls were transferred;
  or (iii) the substance of the call with the sole entity alleged to be affiliated with BLC. These omissions
  are fatal. See, e.g., Hirsch v. Lyndon S. Ins. Co., 2019 WL 5110622, at *6 (M.D. Fla. June 7, 2019),
  report and rec. adopted sub nom., 2019 WL 8370863 (Aug. 6, 2019), aff’d, 805 F. App’x 987 (11th
  Cir. 2020) (dismissing where plaintiff was “attempting to impose liability on Defendants for
  countless calls made throughout the United States … without alleging who made the calls”); Smith
  v. Direct Building Supplies, LLC, 2021 WL 4623275, at *3 (E.D. Pa. Oct. 7, 2021) (dismissing where
  plaintiff “provide[d] no details specifying how [plaintiff] knew that [defendant] in fact placed these
  calls” and holding that “[a]t the pleadings stage, plaintiff must allege facts to support his conclusion
  or belief that defendant is the party that [physically] made the calls” at issue) (citing Scruggs v. CHW
  Grp., Inc., 2020 WL 9348208, at *10 (E.D. Va. Nov. 12, 2020)).
          In sum, Plaintiffs’ conclusory allegations fall far short of satisfying federal pleading
  standards. Because they do not allege that Defendant itself (not some third party) actually physically
  made the calls at issue, this Court should follow the vast weight of applicable authority cited above
  holding that such deficient claims should be dismissed under Rule 12(b)(6), and do so here.
                      ii. Plaintiffs fails to adequately plead vicarious liability.
          Plaintiffs likewise fail to plausibly allege vicarious liability under the TCPA. Vicarious
  liability cannot be casually pled; rather, courts uniformly require plaintiffs to meet a certain pleading
  threshold. Indeed, vicarious liability in any context requires a special relationship between a
  principal and an agent. See Restatement (3d) of Agency (“Restatement”) § 1.01, cmt. c (“[T]he
  concept of agency posits a consensual relationship in which one person, to one degree or another or
  respect or another, acts as a representative of or otherwise acts on behalf of another person with
  power to affect the legal rights and duties of the other person.”); see also Green v. United States, 700
  F. Supp. 2d 1280, 1301 (M.D. Fla. 2010), aff’d, 418 F. App’x 862 (11th Cir. 2011) (applying
  Restatement (Third) Agency § 1.01). This requires “more than mere passive permission; it involves
  request, instruction, or command.” Linlor v. Five9, Inc., 2017 WL 5885671, at *3 (S.D. Cal. Nov.
  29, 2017). And “[t]hough ‘the precise details of the agency relationship need not be pleaded to
  survive a motion to dismiss, sufficient facts must be offered to support a reasonable inference that



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  an agency relationship existed.’” Meeks v. Buffalo Wild Wings, Inc., 2018 WL 1524067, at *5 (N.D.
  Cal. Mar. 28, 2018) (citation omitted).
           Courts routinely dismiss TCPA claims premised on vicarious liability at the pleadings stage
  where, as here, the plaintiff fails to allege sufficient facts establishing an agency relationship with or
  control over a purported agent. See, e.g., Hirsch, 2019 WL 5110622, at *6 (dismissing, noting that
  the FCC “has explicitly rejected a theory of liability under the TCPA against the seller of a product
  for telephone calls marketing that product absent an agency or similar relationship between the seller
  and the caller”); Abramson v. 1 Glob. Capital, LLC, 2015 WL 12564318, at *3 (S.D. Fla. Sept. 23,
  2015) (dismissing where plaintiff’s “allegations of vicarious [TCPA] liability [we]re conclusory in
  nature”); Sheski, 2020 WL 2474421, at *4 (same). This also dooms the Complaint.
           Here, Plaintiffs merely employ various legal buzzwords, without supporting facts, to vaguely
  suggest that Defendant’s “agents” placed some or all of the at-issue calls. But Plaintiff does not
  allege any facts supporting a plausible inference that Defendant directed or controlled the calling
  party’s conduct, as is required to plead actual agency. See, e.g., Linlor, 2017 WL 5885671, at *3.
  Nor do Plaintiffs allege that Defendant did or said anything to them or that they relied on such actions
  or statements to their detriment, as is required to plead apparent authority. Id. Therefore, to the
  extent they were attempting to allege vicarious liability, Plaintiffs’ Complaint should be dismissed.
  See, e.g., Abramson and Hirsch, supra. And because Plaintiffs’ individual claims do not survive
  dismissal under Rule 12(b)(6) for the many reasons above, the class allegations must also be
  dismissed. See, e.g., Henley v. Turner Broad. Sys., Inc., 267 F. Supp. 3d 1341, 1357 (N.D. Ga. 2017)
  (citing various cases).
      V.      CONCLUSION
           For the reasons above, BLC respectfully requests the Court dismiss the Complaint in its
  entirety.




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                            LOCAL RULE 7.1(a)(3) CERTIFICATION
         Pursuant to Local Rule 7.1(a)(3), the undersigned hereby certifies that counsel for
  Defendant conferred with Plaintiffs’ counsel, Avi Kaufman, telephonically on June 30, 2023 but
  was unable to agree on the relief sought herein.
                                                          By: s/ Yaniv Adar
                                                                  Yaniv Adar, Esq.
                                                                  Florida Bar No. 63804

  DATED: June 30, 2023.                                   Respectfully submitted,
                                                          MARK MIGDAL & HAYDEN
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                                                          Miami, Florida 33130
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                                                          By: s/ Yaniv Adar
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                                                                  yaniv@markmigdal.com
                                                                  eservice@markmigdal.com

                                                          Counsel for Bottom Line Concepts, LLC


                                   CERTIFICIATE OF SERVICE

         I hereby certify that I filed the foregoing document (including any attached exhibits and
  documents) electronically on the Court’s CM/ECF docket on June 30, 2023, which served same
  electronically upon all counsel of record.

                                                                    s/ Yaniv Adar
                                                                         Yaniv Adar, Esq.
                                                                         Florida Bar No. 63804




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